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             EXHIBIT 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                    3/29/2023


ROCHE FREEDMAN LLP,

                                            Plaintiff,
                          -against-                                   21-CV-01746 (JGK)(SN

                                                                        AMENDED ORDER
JASON CYRULNIK,
                                             Defendant.
-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        Counterclaim-Defendant Kyle Roche has failed to establish good cause that would permit

him to serve an expert report beyond the deadline for expert discovery. Accordingly, and for the

reasons that follow, Mr. Roche’s request for leave to serve an expert report is DENIED.

        The video clips with which the report is concerned have been public since August of last

year and have had serious implications for Mr. Roche and the RF parties in this litigation and

others. The videos became relevant to this action as early as September 2022, when the RF

parties moved to quash Defendant’s subpoena of Mr. Ager-Hanssen, whose conversations with

Mr. Roche are featured in the videos. That issue was extensively litigated at the time, both before

me and on objection before Judge Koeltl.

        Mr. Roche’s request also comes a full week after the close of all expert discovery. This is

particularly negligent given that the Court has already extended the original expert discovery

deadline, see ECF Nos. 169 and 325, and that the parties very recently litigated that deadline—

after February 20, 2023, when Mr. Roche purports to have retained his new expert. See ECF

Nos. 362, 364.
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       In October 2022, these videos led to the disqualification of Roche Freedman as class

counsel in a substantial class action litigation. See In re Tether and Bitfinex Crypto Asset Litig.,

19-cv-09236 (KPF), ECF No. 253. They also ostensibly led to Mr. Roche’s departure from the

firm he founded, and his withdrawal as counsel in a number of other cases across the country.

The severe economic and reputational cost these videos have imposed on Mr. Roche and his

former firm have provided ample incentive for the RF parties to thoroughly investigate their

authenticity. Yet Mr. Roche argues that despite having “maintained since their release that the

videos . . . were distorted,” ECF No. 368-2 at 2, it had not occurred to him to retain an expert on

that point until it was suggested by a “friend” in February 2023. Id.

       In light of this history, the Court does not find Mr. Roche’s argument persuasive. The

Clerk of Court is respectfully directed to terminate the gavel at ECF No. 368.

       This Order supersedes the Order appearing at ECF No. 375. The Clerk of Court is

directed to reopen the motion at ECF No. 366.

SO ORDERED.




DATED:         March 29, 2023                         SARAH NETBURN
               New York, New York                     United States Magistrate Judge




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